8:13-cr-00107-JFB-RCC        Doc # 307    Filed: 10/31/14   Page 1 of 1 - Page ID # 2102




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )               8:13CR107
                                             )
       v.                                    )   FINDINGS AND RECOMMENDATION
                                             )              AND
MICHAEL HUYCK,                               )             ORDER
                                             )
                     Defendant.              )


       At the conclusion of the hearing on October 31, 2014, on the defendant’s motion to
suppress, I stated my conclusions on the record and my decision to recommend that the
motion to suppress be denied. In accordance with that announcement,


       IT IS RECOMMENDED to the Honorable Joseph F. Bataillon, Senior United States
District Judge, that the motion to suppress (Filing No. 124) as it relates to the staleness
issue be denied as set forth in the oral Findings and Recommendation as will be reflected
in the transcript.


       FURTHER, IT IS ORDERED:
       1.      The clerk shall cause a transcript of the hearing to be prepared and filed.
       2.      Pursuant to NECrimR 59.2 any objection to those Findings and
Recommendations shall be filed with the Clerk of the Court within fourteen (14) days after
the transcript has been filed. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       Dated this 31st day of October, 2014.
                                          BY THE COURT:

                                          s/ Thomas D. Thalken
                                          United States Magistrate Judge
